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UNITED STATES DISTRICT COURT                                                E!l' PCTRONICA'"
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SOUTHERN DISTRICT OF NEW YORK                                               DOC#;
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                                                                            DATE FILED: if / /9/L~-
JA WAD AMIR MUSA, alkla
LEROY A. MOSES,

                                             Petitioner,                      90 CR 863 (RPP)

               -against-
                                                                                          ORDER

UNITED STATES OF AMERICA,
                                             Respondent.
------------------------------------------------------------------){
ROBERT P. PATTERSON, JR., U.S.D.J.

         On October 16,2013, Petitioner Jawad Amir Musa ("Musa"), also known as Leroy A.

Moses, filed a pro se petition for a writ of audita querela in order to attack his sentence, which he

alleges is "constitutionally infirm," (See Pet. for Writ of Audita Querela or Other Relief ("Pet.

for Writ") at 1, 90 CR 863, ECF No, 268.) Musa also filed a motion to appoint counsel pursuant

to Title 18 U.S.C. § 3006(a)(2)(B) and 28 U.S.C. § 1915(e). (Mot. to Appoint Counsel in this

Pet. for Writ of Audita Querela ("Mot. to Appoint Counsel"), Oct. 16,2013,                      No. 269.)

         Musa was convicted in 1991 of conspiring to possess, with intent to distribute, one

kilogram of heroin, in violation of21 U.S.C. § 846. Because Musa had two prior felony

narcotics convictions, he was sentenced to life in prison, pursuant to 21 U.S.C. § 841(b)(l)(A),

on April 23, 1993,1 The Court of Appeals affirmed Musa's conviction and sentence on April 13,

1994, United States v, Leroy Moses, alkla "Jawad Amir Musa", 23 F.3d 396 (2d Cir. 1994), and

this Court denied Musa's               motion to vacate, set aside or correct his sentence, pursuant to

28 U.S.c. § 2255, on May 20, 1998.

IThough Musa was convicted on July 18, 1991, Musa's sentencing was postponed pending the outcome of the
Second Circuit's decision in United States v. Miranda-Ortiz, decided        United States v. Martinez, 987 F,2d
920 (2d Cir. 1993). See                          No. 97-CV-2833 (RPP), 1998 WL255401, at *1 (S.D.N.Y. May
20, 1998).
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       In Musa's current petition for a writ of audita querela, he claims (I) that his life sentence

was "in violation of due process, where he was denied his federal constitutional right to have a

jury detennine beyond a reasonable doubt all fact [s] legally essential to his sentence"; (2) that he

"is actually innocent of the sentence imposed upon him"; and (3) that the Supreme Court's ruling

in Alleyne v. United States, 133 S. Ct. 2151 (2013) "brings new light to Petitioner's previously

raised issues." (See Pet. for Writ at 7, 11, 13.) Because Musa has already challenged his

sentence in a § 2255 petition, he asserts that a writ of audita querela is "both the appropriate and

the only available avenue of relief." (Id. at 3.)

        The writ of audita querela has been abolished with respect to civil cases, but it remains

available in limited circumstances with respect to criminal convictions. United States v. Richter,

510 F.3d 103, 104 (2d Cir. 2007). It is "probably available where there is a legal, as contrasted

with an equitable, objection to a conviction that has arisen subsequent to the conviction and that

is not redressable pursuant to another post-conviction remedy." United States v. LaPlante, 57

F.3d 252, 253 (2d Cir. 1995) (internal citation omitted). The Second Circuit has held that the

writ may be available in situations where "no other avenue ofjudicial review [is] available for a

party who claims that s/he is factually or legally innocent as a result of a previously unavailable

statutory interpretation." Richter, 510 F.3d at 104 (citing In re Dorsainvil, 119 F.3d 245, 248 (3d

Cir. 1997».

        Musa argues that the Supreme Court's holding in ~~""'-, 133 S. Ct. 2151 (2013), which

held that any fact that increases the mandatory minimum sentence for a crime is an "element" of

the crime that must be submitted to the jury and proven beyond a reasonable doubt, gives rise to

a situation where the writ of audita querela should be available. However, Alleyne does not

apply to Musa's 1993 sentence because it was not made retroactive to cases on collateral review



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by the Supreme Court. See United States v. Redd. et al., No. 13 CV 2971 (2d Cir. Nov. 5,2013)

(in which the Second Circuit joined every other circuit that has addressed the issue-the Fourth,

Seventh, and Tenth Circuits-in holding that the rule set forth in Alleyne was not made

retroactive). The Second Circuit reasoned that there are two ways that the Supreme Court may

make a new rule retroactive to cases. Slip Op. at 6. First, the Supreme Court may expressly hold

that a new rule is retroactive to cases on collateral review. Id. Alternatively, the Court may

place the new rule within a category of cases previously held to be retroactive, such as new

substantive rules that place certain kinds of individual conduct beyond the power of criminal

law-making authority to proscribe and new procedural rules that are implicit in the concept of

ordered liberty. Id. The Second Circuit found that Allevne "falls within neither category," and

thus the rule in Alleyne was not made retroactive to cases on collateral review. Id. at 7.

        Because Allevne does not allow Musa to claim he is legally innocent of conspiracy to

possess heroin, in violation of21 U.S.C. § 846, and because there is no evidence to support

Musa's claim that he is factually innocent, there is no colorable claim of a constitutional

violation in Musa's case. Therefore, "the absence of other avenues of collateral attack does not

give rise to serious constitutional questions" and a writ of audita querela is not an available

avenue of relief. Richter, 510 F Jd at 104.

        Accordingly, Musa's petition for a writ of audita querela is DENIED, and Musa's motion

for appointment of counsel is moot. Because Petitioner has not made a substantial showing of

the denial of a constitutional right, a certificate of appealability will not be issued. 28 U.S.c. §

2253.




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IT IS SO ORDERED.

Dated: New York, New York
November 18,2013



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                                                     obert P. Patterson, Jr.
                                                    U.S.D.l

Copies of this order were faxed or mailed to:

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